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                                 (pro hac vice application to be filed)
                            10
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                            11
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                                                             UNITED STATES DISTRICT COURT
                            12
                                                            EASTERN DISTRICT OF CALIFORNIA
                            13                                    SACRAMENTO DIVISION
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                            15   E.L., a minor, by and through her general     Case No. 2:22-cv-01527-DAD-AC
                                 guardian, JESSICA LONG; JESSICA LONG, an
                            16   individual,                                   DECLARATION OF BRYCE MAXWELL IN
                                                 Plaintiffs,                   SUPPORT OF E.L.’S MOTION TO
                            17            v.                                   MODIFY THE COURT ORDER RE
                            18   LIEUTENANT JERRY FERNANDEZ, in his            MINOR’S COMPROMISE (ECF No. 113)
                                 individual capacity; DETECTIVE JACOB
                            19   DUNCAN, in his individual capacity;           [Motion to Modify Court Order and Supporting
                                 DETECTIVE JEREMY ASHBEE, in his               Declaration of Jessica Long filed concurrently]
                            20   individual capacity; SHASTA DISTRICT FAIR
                                 AND EVENT CENTER, a district agricultural
                            21
                                 association; COUNTY OF SHASTA; SHASTA Date: March 11, 2024
                            22   COUNTY SHERIFF’S DEPARTMENT;                  Time: NA.
                                 MELANIE SILVA, in her individual and official Courtroom: 4, 15th Floor
                            23   capacity; BJ MACFARLANE, in his individual
                                 and official capacity; KATHIE MUSE, in her    Trial Date: TBD
                            24   individual and official capacity, and DOES 1
                                 through 10,                                   Action Filed: August 31, 2022
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                                                               DECLARATION OF BRYCE MAXWELL
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                            1                                DECLARATION OF BRYCE MAXWELL

                            2    I, Bryce Maxwell, declare as follows:

                            3           1.       I am over 18 years of age. I have personal knowledge of the matters set forth herein

                            4    and, if called upon, I could and would competently testify thereto. I made this declaration in support

                            5    of Plaintiffs’ E.L.’s Motion to Modify The Court Order Re Minor’s Compromise (ECF No. 113)

                            6           2.       I am a Certified Public Accountant (CPA) licensed in Utah with a Master of

                            7    Accountancy (MAcc).

                            8           3.       I am also a licensed insurance producer at Amicus Settlement Planners, LLC, which is

                            9    a firm comprised of multiple licensed attorneys, Certified Financial Planners and CPAs that specializes

                            10   in the legal and financial issues that arise at the time of settlement in litigation. For example, we

                            11   specialize in managing tax issues that arise of out settlements, establishing structured settlement
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                            12   annuities, establishing trusts, and other related matters for plaintiffs throughout the United States. We

                            13   are affiliated with JCR Settlements LLC, which is a national structured settlement brokerage firm that

                            14   is appointed with all of the major life insurance companies that provide structured settlement annuities.

                            15          4.       In about September 2024, Plaintiffs’ counsel contacted me to assist Plaintiff Jessica

                            16   Long (“Mrs. Long”) and E.L. with managing the settlement in this case with Defendants Shasta

                            17   County, the Sheriff’s Office, and the three law enforcement defendants (collectively, the “County

                            18   Defendants”).

                            19          5.       I, along with my brother, Greg Maxwell (a licensed attorney in Utah and the District of
                            20   Columbia) proceeded to work with the Long Family to manage the settlement with the County

                            21   Defendants.

                            22          6.       Plaintiffs and I agreed that we would place E.L.’s settlement funds into a Qualified

                            23   Settlement Fund under 26 C.F.R § 1.468B-1(c) of the Treasury Regulations promulgated under

                            24   Section 468B of the Internal Revenue Code of 1986. The money was to go there first for tax purposes.

                            25   Once E.L.’s settlement monies were deposited in the Qualified Settlement Fund, those monies would

                            26   be transferred to fund an annuity from Independent Life Insurance Company. That annuity would
                            27   grow over time for her, and guarantee various payouts for her beginning after she turned eighteen.

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                                                                    DECLARATION OF BRYCE MAXWELL
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                            1           7.       The rationale for this is that an annuity with an established company like Independent

                            2    Life Insurance Company would grow over time. E.L. would not have access to the funds until she

                            3    was 18 and, at that time, the funds should grow substantially. Where, if the funds were to stay in the

                            4    Qualified Settlement Fund, they would have only minimal growth.

                            5           8.       Plaintiffs were agreeable to the above plan, so we created a Qualified Settlement Fund,

                            6    which was identified as the Long Family Settlement Trust.

                            7           9.       The Court approved disbursement of E.L.s settlement funds to the Long Family

                            8    Settlement Trust (i.e., the Qualified Settlement Fund under applicable Treasury Regulations).

                            9           10.      However, the Court’s order also states that “No withdrawals shall be made from the

                            10   [Long Family Settlement] Trust Account [i.e., they Qualified Settlement Fund], except by plaintiff

                            11   E.L. when she reaches the age of eighteen (18) and is granted access to the Trust Account at that time.”
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                            12   (ECF No. 113)

                            13          11.      Because no withdrawals are permitted, my firm is unable to establish the annuity E.L.

                            14   and Mrs. Long wish to create for her (E.L.).

                            15          12.      The specific annuity we wish to fund on E.L.’s behalf is described in the document

                            16   attached hereto as Exhibit A.

                            17          13.      The proposed annuity will be from Independent Life Insurance Company. Independent

                            18   Life Insurance Company is rated “A” by Egan-Jones Ratings Company and is partially reinsured by

                            19   Hannover Life Reassurance Company of America, rated “A+, XV” by A.M. Best. A true and correct
                            20   copy of the Independent Life’s “Company Overview 2024” is attached hereto as Exhibit B.

                            21          14.      The annuity will begin payments to E.L. on January 15, 2031, after she is eighteen (18).

                            22   Projections indicate the annuity will grow her principal of $65,000 to somewhere between

                            23   approximately $92,000 to $110,000 by that time.

                            24          15.      In my professional judgment, this is a much better investment for E.L. than merely

                            25   allowing the funds to sit in the Long Family Settlement Trust (the Qualified Settlement Fund) under

                            26   the currently worded court order.
                            27          16.      Note that we have the annuity referenced in Exhibit A locked in but it needs to be

                            28   funded by March 17, 2025.
                                                                                   3
                                                                     DECLARATION OF BRYCE MAXWELL
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                            1           I declare under the penalty of perjury under the laws of the United States of America that the

                            2    foregoing is true and correct. Executed on February 4, 2025.

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                                                                  DECLARATION OF BRYCE MAXWELL
